Case: 5:16-cr-00280-BYP Doc #: 124 Filed: 12/23/19 1 of 5. PageID #: 1269




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


   UNITED STATES OF AMERICA,                        CASE NO.: 5:16-CR-00280

                          Plaintiff-Respondent,
   vs.                                              JUDGE BENITA Y. PEARSON

   DEZAY MARTELL ELY,
                                                    MOTION FOR RELIEF
                          Defendant-Petitioner.     UNDER 28 U.S.C. § 2255



         Now comes the Petitioner, Dezay Martell Ely, and respectfully requests this Court grant

  him relief under 28 U.S.C. § 2255. Based on the application of United States v. Davis, 588 US

  ___, 139 S. Ct. 2319 (2019), Mr. Ely’s conviction for attempted murder is no longer a qualifying

  predicate to support a conviction under 18 U.S.C. § 924(c). A memorandum in support is attached

  hereto and incorporated herein.

                                                     Respectfully submitted,

                                                     DICAUDO, PITCHFORD & YODER, LLC

                                                     /s/J. Reid Yoder
                                                     J. Reid Yoder (0076587)
                                                     ryoder@dpylaw.com
                                                     209 South Main Street, Third Floor
                                                     Akron, Ohio 44308-1321
                                                     Telephone:     330.762.7477
                                                     Facsimile:     330.762.8059

                                                     Attorney for Dezay Ely
Case: 5:16-cr-00280-BYP Doc #: 124 Filed: 12/23/19 2 of 5. PageID #: 1270




                                  MEMORANDUM IN SUPPORT

          A. Mr. Ely’s conviction under § 924(c) is void because the predicate offense of
             attempted murder is no longer a valid crime of violence post-Davis.

          Mr. Ely was convicted, in part, with one count of discharging a firearm in furtherance of a

  crime of violence, a violation of 18 U.S.C. § 924(c)(1)(A)(iii). (Doc. 113, Judgment). Under that

  statute, a defendant who uses or carries a firearm during and in relation to any crime of violence

  or drug trafficking crime is subject to a consecutive sentencing penalty of incarceration. 18 U.S.C.

  § 924(c)(1)(A), Under § 924(c)(3), a “crime of violence” is defined in two parts, as a felony offense

  that either:

          (A) has as an element the use, attempted use, or threatened use of physical force
          against the person or property of another, or

          (B) that by its nature, involves a substantial risk that physical force against the
          person or property of another may be used in the course of committing the offense.

  In other words, in order for an offense to be a crime of violence under § 924(c)(3), that offense

  must either involve the use, attempted use, or threatened use of force (the “elements clause”) or be

  a crime by which its nature creates a “substantial risk of physical force” being used (the “residual

  clause”).

          However, the Supreme Court recently held in Davis that the residual clause at §

  924(c)(3)(B) is unconstitutionally vague. Davis, 139 S. Ct. at 2336. Here, the indictment

  specifically alleges the predicate crime of violence as Attempt to Commit Murder under 18 U.S.C.

  § 1113. (Doc. 12, Indict., PageID # 53). Because Attempt to Commit Murder does satisfy the force

  clause, as detailed below, it could only have been a qualifying predicate offense under the now

  invalid residual clause. As a result, Mr. Ely is entitled to have his sentence on Count Two vacated

  and that charge dismissed.




                                                   2
Case: 5:16-cr-00280-BYP Doc #: 124 Filed: 12/23/19 3 of 5. PageID #: 1271




         Mr. Ely’s conviction under § 924(c) is no longer valid following Davis because attempted

  murder does not qualify as a crime of violence under the force clause. First Degree Murder is

  defined as:

         [T]he unlawful killing of a human being with malice aforethought. Every murder
         perpetrated by poison, lying in wait, or any other kind of willful, deliberate,
         malicious, and premeditated killing; or committed in the perpetration of, or attempt
         to perpetrate, any arson, escape, murder, kidnapping, treason, espionage, sabotage,
         aggravated sexual abuse or sexual abuse, child abuse, burglary, or robbery; or
         perpetrated as part of a pattern or practice of assault or torture against a child or
         children; or perpetrated from a premeditated design unlawfully and maliciously to
         effect the death of any human being other than him who is killed, is murder in the
         first degree.

  United States v. Amos, 423 F. App’x 541, 548 (6th Cir. 2011) (quoting 18 U.S.C. § 1111(a)).

  Murder in any other way is murder in the second degree. 18 U.S.C. § 1111(a).

         Attempted murder is not defined and therefore this Court must look to attempt under

  common law. See Amos, 423 F. App’x at 548-49. Attempt requires:

                (1) the defendant had the requisite intent to commit a crime; (2) the defendant
                undertook a direct act in a course of conduct planned to culminate in his
                commission of the crime; (3) the act was substantial, in that it was strongly
                corroborative of the defendant’s criminal purpose; and (4) the act fell short of
                the commission of the intended crime due to intervening circumstances.

  United States v. Bird, 409 F. App’x 681, 687 (4th Cir. 2011) (quoting United States v. Pratt, 351

  F.3d 131, 135 (4th Cir. 2003)). Certain facts may “provide strong corroboration” of criminal intent

  and therefore may constitute a substantial step toward commission of a substantive crime.

         Such facts include: (1) lying in wait, searching for, or following the contemplated
         victim; (2) reconnoitering the place contemplated for the commission of the crime;
         (3) possession of materials to be employed in the commission of a crime; and (4)
         possession or fabrication of materials to be used in committing the crime at or near
         the place chosen for its commission.

  Bird, 409 F. App’x at 687 (citing Pratt, 351 F.3d at 135). These substantial steps do not include

  any use, attempted use, or threatened use of force.




                                                     3
Case: 5:16-cr-00280-BYP Doc #: 124 Filed: 12/23/19 4 of 5. PageID #: 1272




          Additionally, a person could be convicted of attempted murder for an act of omission. In United

  States v. Anderson, 503 F.2d 420 (6th Cir. 1974), Anderson was charged with willfully attempting

  murder or manslaughter after she gave birth to a child in a “toilet receptacle” on an airplane which had

  at least two inches of liquid in it. Her failure to protect her newborn was the basis for the charge of

  attempted murder or manslaughter. Anderson’s conduct did not involve the use, attempted use, or

  threatened use of force, but rather involved her acts of omission.

          Because attempt to commit murder covers conduct which is broader than the force clause at §

  924(c)(3)(A), attempt to commit murder cannot by its definition be a crime of violence based on the

  use, attempted use, or threatened use of force. Courts cannot partake in fact-finding into the particular

  facts of a case to determine whether the defendant’s conduct would have fallen within the residual

  clause of § 924(c)(3). Davis, 139 S. Ct. at 2329-2330. “In the [force clause] context, [the categorical

  approach] requires asking whether the least culpable conduct covered by the statute at issue

  nevertheless ‘has as an element the use, attempted use, or threatened use of physical force . . .”

  Stokeling v. United States, 139 S. Ct. 544, 556 (2019) (in the context of § 924(e)’s identical force

  clause). If the least culpable conduct does not have such an element, “then the statute is too broad to

  qualify. . .” The least culpable version of attempted murder covers conduct that does not require a use,

  attempted use, or threatened use of force. It is, therefore, not a crime of violence as defined by §

  924(c)(3)(A).

                                             CONCLUSION

          Mr. Ely raises claims of constitutional errors which had a substantial and injurious effect on

  his proceedings and entitles Mr. Ely to relief under 28 U.S.C. § 2255. Brecht v. Abrahamson, 507 U.S.

  619, 637-38 (1993); Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999).




                                                     4
Case: 5:16-cr-00280-BYP Doc #: 124 Filed: 12/23/19 5 of 5. PageID #: 1273




                                                           Respectfully submitted,

                                                           DICAUDO, PITCHFORD & YODER, LLC

                                                           /s/J. Reid Yoder
                                                           J. Reid Yoder (0076587)
                                                           ryoder@dpylaw.com
                                                           209 South Main Street, Third Floor
                                                           Akron, Ohio 44308-1321
                                                           Telephone:     330.762.7477
                                                           Facsimile:     330.762.8059

                                                           Attorney for Dezay Ely




                                     CERTIFICATE OF SERVICE

           I hereby certify that on this 23rd day of December 2019, the foregoing MOTION was served

   on all parties of record via the Court’s electronic filing system .


                                                            /s/J. Reid Yoder
                                                            J. Reid Yoder (0076587)




                                                       5
